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           IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION


UNITED STATES OF AMERICA ex          *
rel. BLANKENSHIP GROUP, INC.         *
and BLANKENSHIP GROUP, INC.,         *
                                     *


      Plaintiffs,                    *             CV 423-217
                                     *


           V.                        *
                                     *


POETTKER CONSTRUCTION COMPANY;       *
ZODIAC-POETTKER HBZ JOINT            *
VENTURE II, LLC; and LIBERTY         *
MUTUAL INSURANCE COMPANY,            *
                                     *


      Defendants.                    *




                               ORDER




     Before the Court is Defendants' motion to compel arbitration

and stay pending arbitration (Doc. 20) and the Parties' stipulation

and joint motion regarding arbitration and stay (Doc. 27).               For

the following reasons. Defendants' motion (Doc. 20) is GRANTED,

subject to the Parties' stipulation (Doc. 27), which is also

GRANTED.




                             I. BACKGROUND


     Plaintiffs filed suit on August 3, 2023.       (Doc. 1.)    Defendant

Poettker   Construction    Company    C'PCC")   answered   and   filed     a

counterclaim on September 25, 2023.         (Doc. 14.)     On October 3,

2023, Defendants moved to compel arbitration and to stay pending
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arbitration.    (Doc. 20.)     On October 13, 2023, Plaintiffs filed an

Amended Complaint, the operative complaint.             (Doc. 22.)

      Plaintiffs bring claims for breach of contract and under the

Miller Act, 40 U.S.C. §§ 3131, et seq.           (Id^ at 2.)      On June 15,

2021, the United States Army Corps of Engineers C'USACE") awarded

Contract Number W912HN21C3005 to Zodiac-Poettker HBZ Joint Venture

II, LLC (''Zodiac") to construct an aircraft hangar facility at

Hunter Army Airfield in Savannah, Georgia (the "Project").               (Id.)

As required by the Miller Act, Zodiac, as principal, and Liberty

Mutual   Insurance   Company     ("Liberty"),     as    surety,   provided    a

Payment Bond to the USACE for the benefit and protection of all

persons supplying labor and materials for the Project.               (Id.)   PCC

and   Blankenship    Group,    Inc.   ("BGI")    executed     a   subcontract

agreement (the "Subcontract") dated September 9, 2021, under which

BGI was to provide and install the structural concrete for the

Project.   (Id.)

      The Subcontract stated PCC entered a prime contract with the

USACE for the Project, but Plaintiffs assert it was actually Zodiac

that contracted with USACE as the general contractor.             (Id. at 3.)

Plaintiffs   believe    no    contract   or   subcontract    exists    between

Zodiac and PCC for work on the Project; thus, they argue PCC acted

as an agent of Zodiac in executing the Subcontract with BGI, and

Zodiac is a party to the Subcontract.           (Id.)

      Pursuant to the Subcontract, PCC agreed to make all payments

due to BGI thereunder, and timely pay BGI for all work performed
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and materials supplied to the Project.          (Id.)   Under Article 3 of

the Subcontract and the Federal Prompt Payment Act, 39 U.S.C.

§ 3905 C'FPPA"), PCC and Zodiac were required to pay BGI within

ten days of PCC and/or Zodiac's receipt of payment from USACE.

(Id.)      BGI   claims    it   performed   its    obligations    under    the

Subcontract, including all conditions precedent to receipt of full

payment for all Subcontract work, and all additional amounts due

to    modifications   of    the    Subcontract,    except   to   the     extent

completion was prevented by PCC or Zodiac.            (Id. at 3-4.)       BGI's

work was halted when PCC wrongfully, without proper cause, and in

violation of the Subcontract, terminated the Subcontract.              (Id. at

4.)

        Plaintiffs assert PCC and Zodiac received payment from USACE

for most, if not all, of the work BGI performed on the Project,

except amounts withheld by USACE due to defaults by Zodiac under

the main contract.     (Id.)      Despite demands for payment, PCC failed

and refused to pay BGI the remaining balances owed, in breach of

the Subcontract and the FPPA.           (Id.)     Plaintiffs claim PCC and

Zodiac owe BGI $304,813.19, including $53,779.22 for changes to

the work, for which PCC wrongfully refused to execute a formal

change order.     (Id.)    PCC and Zodiac breached the Subcontract by

failing to make payment, wrongfully terminating it, and causing

BGI to lose profits it would have made performing the remaining

work.    (Id.)   Thus, by wrongfully terminating the Subcontract, PCC

and Zodiac damaged BGI in the amount of $283,138.12.             (Id.)    Based
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on these allegations. Plaintiffs bring two claims: (I) breach of

contract; and (11) Miller Act violation.                (Id. at 5-6.)



                               II. LEG2^ STANDARD


      The   Federal     Arbitration       Act     C'FAA")   ''embodies   a   liberal

federal     policy    favoring     arbitration       agreements."        Caley     v.

Gulfstream Aerospace Corp., 428 F.3d 1359, 1367 (11th Cir. 2005)

(internal quotation marks and citations omitted). The FAA requires

courts to "rigorously enforce agreements to arbitrate."                      Davis v.

Prudential Sec., Inc., 59 F.3d 1186, 1192 (11th Cir. 1995) (quoting

Shearson/Am. Express, Inc. v. McMahon, 482 U.S. 220, 226 (1987)).

The   Supreme      Court   has    "made    clear     that    the    strong   federal

preference for arbitration of disputes expressed by Congress in

the [FAA] must be enforced when possible."                  Musnick v. King Motor

Co. of Fort Lauderdale, 325 F.3d 1255, 1258 (11th Cir. 2003).

Further,     the     Supreme     Court    found    "the     FAA    applies   to   all

arbitration agreements involving interstate commerce, including

employment contracts . . . ."             Id. at 1258 n.2 (citing Cir. City

Stores, Inc. v. Adams, 532 U.S. 105 (2001)).

      "[T]he party seeking to compel arbitration has the initial

burden of producing the arbitration agreement and establishing the

contractual relationship necessary to implicate the FAA and its

provisions granting [the court] authority to dismiss or stay [the

plaintiff's] cause of action and to compel arbitration."                      Compere

V. Nusret Miami, LLC, 396 F. Supp. 3d 1194, 1199 (S.D. Fla. 2019)
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(citation and internal quotation marks omitted).        If the party for

arbitration meets its burden of production, the burden shifts to

the party opposing arbitration to show why the court should not

compel arbitration.       Bhim v. Rent-A-Ctr., Inc., 655 F. Supp. 2d

1307, 1311 (S.D. Fla. 2009).



                             III. DISCUSSION


     As an initial matter, the Court has jurisdiction over this

matter pursuant to the Miller Act and 28 U.S.C. § 1367(a).          (Doc.

22, at 2.)       Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

(Id.)     Defendants moved to compel arbitration on October 3, 2023,

arguing the Subcontract contains a mutual binding arbitration

agreement in Article 11.2 (the ''Arbitration Agreement").           (Doc.

20, at 2.)       The Arbitration Agreement provides:

     All claims, disputes and other matters in question
     arising out of, or relating to, this Agreement or the
        breach thereof shall be decided by Arbitration in
        accordance with the Construction Industry Arbitration
        Rules of the American Arbitration Association unless the
        parties mutually agree otherwise.       This agreement to
        arbitrate shall be specifically enforceable under the
        prevailing arbitration law.    The award rendered by the
        arbitrators shall be final, and judgment may be entered
        upon in accordance with application law in any court
        having jurisdiction thereof.  The prevailing party in
        any such arbitration or court action shall be entitled
        to recover its attorneys' fees, expert witness fees,
        investigation costs and related expenses from the other
        party.

(Doc. 20-1, at 14.)       The Subcontract also contains the following

warning above the signature block: "THIS AGREEMENT CONTAINS A

BINDING ARBITRATION CLAUSE WHICH MAY BE ENFORCED BY THE PARTIES."
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(Id. at 16.)      Defendants argue the       FAA applies because the

Subcontract containing the Arbitration Agreement is a ''contract

evidencing a transaction involving commerce."           (Doc. 20, at 3

(quoting 9 U.S.C. § 2).)     Defendants request the Court compel BGI

to submit its claims against PCC and PCCs counterclaim to binding

arbitration, and to stay this action against all Defendants pending

arbitration.   (Id. at 6.)

     On June 4, 2024, the Parties filed a stipulation and joint

motion regarding arbitration and the stay. (Doc. 27.) The Parties

now move the Court to grant Defendants' motion (Doc. 20) subject

to   the   stipulation   among   all   Parties.     (Doc.   27,   at     1.)

Specifically, BGI and PCC stipulate the claims alleged against
each other, including PCCs counterclaim, will be decided pursuant

to binding arbitration.      (Id.)     The Parties agree each of them

will be bound by the arbitration award, subject to review pursuant

to the FAA.    (Id. at 2.)   The Parties also agree the Court should

stay the case pending the outcome of the arbitration between BGI

and PCC, and that the Court is entitled to implement a stay

pursuant to the FAA.     (Id.)

      Since the Parties agree arbitration is appropriate as to the

claims and counterclaims between BGI and          PCC, the Court GRANTS

Defendants' motion to compel arbitration (Doc. 20) pursuant to the

Parties' stipulation.      The Parties also request the Court stay

this action pending arbitration.       (Id. at 6; Doc. 27, at 2.)        The

FAA provides that once a district court is "satisfied that the
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issue[s]    involved   in   [a]   suit    .       .    .   [are]   referable   to

arbitration," the district court "shall on application of one of

the parties stay the trial of the action" until the arbitration is
complete.    9 U.S.C. § 3.    The Parties have agreed to arbitrate;
thus, the Court STAYS this case pending arbitration.



                             IV. CONCLUSION


     For the foregoing reasons. Defendants' motion to stay and

compel arbitration {Doc. 20) is GRANTED, subject to the Parties'

stipulation (Doc. 27), which is also GRANTED. IT IS HEREBY ORDERED

that the Parties SHALL ARBITRATE the                  claims and counterclaims

pending between BGI and PCC, and the Clerk is DIRECTED to STAY

this case pending arbitration.       Because the Parties have not yet

scheduled arbitration, the Parties SHALL FILE a joint status report

with the Court SIX MONTHS from the date of this Order with follow-

up status reports every NINETY (90) DAYS until arbitration has

concluded.


     ORDER ENTERED at Augusta, Georgia, this                            of June,

2024.




                                  HONOR               J. RANDAL HALL
                                  UNITED      S   ATES DISTRICT JUDGE
                                                  DISTRICT OF GEORGIA
